        Case 3:10-cv-01798-WWE Document 84 Filed 02/27/12 Page 1 of 1



                         UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT



MICHAEL V. GABRIELLE
        v.
                                                       3:10CV1798(WWE)
LAW OFFICE OF MARTHA GROOG,
and AMERICAN HOME MORTGAGE
SERVICING, INC.

                                  JUDGMENT

      This matter came on before the Honorable Warren W. Eginton, Senior United States

District Judge, as a result of defendants’ motions to dismiss

      The Court has reviewed all of the papers filed in conjunction with the motions and

on February 9, 2012, entered a Memorandum of Decision granting the motions.

      Therefore, it is ORDERED and ADJUDGED that judgment is entered for the

defendants Law office of Martha Croog and American Home Mortgage Servicing, Inc. and

the case is closed.

      Dated at Bridgeport, Connecticut, this 27th day of February, 2012.

                                         ROBERTA D. TABORA, Clerk

                                         By           /s/
                                              Deborah A. Candee
                                                Deputy Clerk

Entered on Docket
